                  IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                       CRIMINAL DOCKET NO.: 5:07CR11-2-V


UNITED STATES OF AMERICA            )
                                    )
            vs.                     )                           ORDER
                                    )
JAMES LEONARD MORRIS,               )
                  Defendant.        )
___________________________________ )

        THIS MATTER is before the Court upon defense counsel’s Motion For Psychiatric

Evaluation and Hearing To Determine Competency, filed January 3, 2008.1 (Document #51)

        For the reasons set forth within Defendant’s motion, and upon a finding of ‘reasonable cause’

to believe Defendant may be suffering from a mental disease or defect rendering him mentally

incompetent to proceed (i.e., unable to understand the nature and consequences of the proceedings

against him or to assist properly in his defense), the Court will order that Defendant undergo an

evaluation as proposed by defense counsel. See 18 U.S.C. §§4241(a) and (b); United States v.

Mason, 52 F.3d 1286, 1289 (4th Cir.1995).

        In order to facilitate the evaluation, the Court requests the immediate transfer of the

Defendant from the Mecklenburg County Jail to F.C.I. Butner, or some like federal facility at the

discretion of the U.S. Marshal’s Service.




        1
          Defendant’s motion is labeled as an “Ex Parte Motion To Determine Competency.” However,
counsel served the Government with a copy of the motion. Thus, there is no need for the instant order to
be treated as an ex parte motion or to be placed under seal.

                                                   1



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  IT IS, THEREFORE, ORDERED THAT:

  1) Defendant's motion for evaluation is hereby GRANTED. Accordingly, Defendant shall

  undergo a psychiatric evaluation pursuant to 18 U.S.C. §§4241(a), 4242(a) and 4247(b) &

  (c);

  2) Once completed, a copy of the psychiatric or psychological evaluation shall be filed with

  the Court, UNDER SEAL, pursuant to 18 U.S.C. §4247(c);

  3) Upon receipt and filing, copies of the evaluation shall be distributed by the Deputy Clerk

  to Defense Counsel and the U.S. Attorney’s Office consistent with the statute;

  4) If the evaluation has not already been prepared and submitted to the Court, Counsel for

  Defendant shall file a STATUS REPORT with the Court on or before Monday, February

  25, 2008; and

  5) This Order shall be delivered (electronically or otherwise) to Defense Counsel, the U.S.

  Attorney’s Office, the U.S. Probation Department, and the U.S. Marshal’s Service.



                                           Signed: January 3, 2008




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